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Dearrea King,
      Plaintiff,

v.                                                    Case Number 2:18-cv-1060
                                                      Judge Sargus, Jr.
Bryan Mason,
      Defendant.

                                  Jury Trial Day 4
                              Friday, January 20, 2023
                         before Judge Edmund A. Sargus, Jr.

For Plaintiff: Marcus Sidoti, Sarah Gelsomino and Sean Walton, Jr.
For Defendants: Wesley Phillips, Alana Tanoury and Sheena Rosenberg
Court Reporter: Crystal Hatchett
Courtroom Deputy: Christin Werner

        8:45 a.m. Conference held in chambers.
        9:00 a.m. Jury trial day 4 commences.

Chief Melvin Tucker called by plaintiff (attorney Gelsomino).
Chief Tucker designated as an expert.
Cross examination of Chief Tucker by defendant (attorney Phillips).
Chief Tucker testified to exhibits D. 75 and D. 73.
Re direct examination of Chief Tucker by plaintiff (attorney Gelsomino).

**Plaintiff rests its case.

Rule 50 motion made by defendant (attorney Tanoury).
*Motion is denied*

Michael Ames called by defendant (attorney Tanoury).
Mr. Ames testified to exhibits D. 138 and D. 137.
Cross examination of Mr. Ames by plaintiff (attorney Gelsomino).
Mr. Ames testified to exhibit D. 137.

Sergeant Bryan Mason called by defendant (attorney Phillips).
Sergeant Mason testified to exhibits J. 48, D. 108, J. 27, J. 19, J. 13, D. 108, D. 137, D. 119, D.
118, J. 50, D. 115, D. 116, J. 36, J. 13, J. 41, J. 20 and J. 43
Cross examination of Sergeant Mason by plaintiff (attorney Sidoti).
Sergeant Mason testified to exhibits D. 143, P. 56 and J. 49.
Re direct examination of Sergeant Mason by defendant (attorney Phillips).
Sergeant Mason testified to exhibit J. 41.
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Akilah Bulger called by defendant (attorney Rosenberg).
Ms. Bulger testified to exhibit D. 22.
Cross examination of Ms. Bulger by plaintiff (attorney Gelsomino).
Ms. Bulger testified to exhibit P. 57.
Redirect examination of Ms. Bulger by defendant (attorney Rosenberg).

Matthew Noedel called by defendant (attorney Tanoury).
Mr. Noedel designated as an expert.
Mr. Noedel testified to exhibits D. 124, D. 130, D. 131 and D. 132.



       4:00 p.m. Court adjourns until 8:45 a.m., Monday, January 23, 2023.
